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AO 245B (Rev. 09/19) (VAE 6/3)   Judgment in a Criminal Case
                                 Sheet 1


                                         UNITED STATES DISTRICT COURT
                                             Eastern District of Virginia
                                                  Norfolk Division
             UNITED STATES OF AMERICA                             )     JUDGMENT IN A CRIMINAL CASE
                                                                  )
                                 v.                               )     Case Number:         2:22CR00108-002
                                                                  )
                           YE WANG,                               )     USM Number:          11376-510
                                             Defendant.           )
                                                                        Defendant's Attorney: Brian Latuga
                                                                  )
                                                                  )
The defendant pleaded guilty to Count 3 of the Indictment.
The defendant is adjudged guilty of the following:

 Title and Section                    Nature of Offense                                           Offense Ended          Count

 T. 18 U.S.C. § 1956(a)(1)            Conspiracy to Commit Money Laundering                         May 4, 2022              3

   The defendant is sentenced as provided in pages 2 through 7 of this Judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

   The defendant has been found not guilty of:
   The remaining counts are dismissed on the motion of the United States.

    It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until the special assessment imposed by this judgment is fully paid. If ordered to pay restitution, the
defendant must notify the Court and United States Attorney of material changes in economic circumstances.

                                                                      December 1, 2023
                                                                      Date of Imposition of Judgment



                                                                      Signature of Judge

                                                                      Arenda L. Wright Allen, United States District Judge
                                                                      Name and Title of Judge

                                                                      December 4, 2023
                                                                      Date
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         Sheet 2 - Imprisonment

Case Number:                  2:22CR00108-002
Defendant’s Name:             WANG, YE


                                                             IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of THIRTY-SEVEN (37) MONTHS.


The Court makes the following recommendations to the Bureau of Prisons:


     1.   The defendant shall be incarcerated in a facility as close to the state of Pennsylvania as possible.




     The defendant is remanded to the custody of the United States Marshal.




                                                                 RETURN

I have executed this judgment as follows:

Defendant delivered on                                               to
at                                                               , with a certified copy of this Judgment.



                                                                  ________________________________________
                                                                  UNITED STATES MARSHAL


                                                        By        ________________________________________
                                                                  DEPUTY UNITED STATES MARSHAL
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         Sheet 3 – Supervised Release


Case Number:                  2:22CR00108-002
Defendant’s Name:             WANG, YE


                                                         SUPERVISED RELEASE

     Upon release from imprisonment, you will be on supervised release for a term of THREE (3) YEARS.


                                                   MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance.
     ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
     abuse. (check if applicable)
4.   ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
     restitution. (check if applicable)
5.   ☐ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
     as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
     reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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         Sheet 3 – Supervised Release


Case Number:                  2:22CR00108-002
Defendant’s Name:             WANG, YE


                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
    time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
    the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
    notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
    officer within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
    officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
    from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
    excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
    10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
    becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
    the probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov


Defendant's Signature                                                        Date
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         Sheet 3A – Supervised Release

Case Number:                  2:22CR00108-002
Defendant’s Name:             WANG, YE


                                     SPECIAL CONDITIONS OF SUPERVISION
     1) The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
        probation officer.

     2) The defendant shall provide the probation officer access to any requested financial information.

     3) The defendant shall not sell or offer to sell any item on the internet for another person or entity without the pre-
        approval and authorization from the court or probation officer. This includes, but is not limited to, selling items
        on internet auction sites.
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         Sheet 5 – Criminal Monetary Penalties

Case Number:                  2:22CR00108-002
Defendant’s Name:             WANG, YE


                                             CRIMINAL MONETARY PENALTIES
  The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                                                         AVAA                     JVTA
                       Assessment               Restitution        Fine
                                                                                         Assessment*              Assessment**
  TOTALS            $ 100.00                 $ 0.00              $ 0.00                $ 0.00                   $ 0.00

  ☐ The determination of restitution is deferred until          . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

  ☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
       victims must be paid before the United States is paid.

  ☐ Restitution amount ordered pursuant to plea agreement $
  ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
    the fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
    subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

  ☐ The Court determined that the defendant does not have the ability to pay interest and it is ordered that:
    ☐ the interest requirement is waived for the ☐ fine ☐ restitution.
    ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
    on or after September 13, 1994, but before April 23, 1996.

      Payments of Restitution are to made payable to the Clerk, United States District Court, Eastern District of Virginia.
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         Sheet 6 – Schedule of Payments

Case Number:                  2:22CR00108-002
Defendant’s Name:             WANG, YE


                                                  SCHEDULE OF PAYMENTS
  Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

  A     ☐      Lump sum payment of $      due immediately, balance due
               ☐ not later than                           , or
               ☐ in accordance with ☐ C, ☐ D, ☐ E, or ☐ F below; or

  B     ☒      The special assessment shall be due in full immediately (may be combined with ☐ C, ☐ D, or ☒ F below); or

  C     ☐      Payment in equal            (e.g., weekly, monthly, quarterly) installments of $        over a period of     (e.g., months or
               years), to commence             (e.g., 30 or 60 days) after the date of this judgment; or

  D     ☐      Payment in equal            (e.g., weekly, monthly, quarterly) installments of $      over a period of        (e.g., months or
               years), to commence             (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

  E     ☐      Payment during the term of supervised release will commence within       (e.g., 30 or 60 days) after release from
               imprisonment. The Court will set the payment plan based on an assessment of the defendant’s ability to pay at that
               time; or

  F     ☒      Special instructions regarding the payment of criminal monetary penalties:
Any special assessment payments may be subject to penalties for default and delinquency.
Nothing in the Court’s order shall prohibit the collection of any judgment by the United States.
Since this Judgment imposes a period of imprisonment, payment of criminal monetary penalties is due during the period of
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the Clerk of the Court.

  ☐     Joint and Several

        Case Number
        Defendant and Co-Defendant Names                                          Joint and Several               Corresponding Payee,
        (including defendant number)                         Total Amount              Amount                         if appropriate




  ☐     The defendant shall pay the cost of prosecution.

  ☐     The defendant shall pay the following court cost(s):

  ☒     The defendant shall forfeit the defendant’s interest in the following property to the United States:
        SEE CONSENT ORDER OF FORFEITURE ENTERED AND FILED ON MARCH 3, 2023

  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
  assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
  including cost of prosecution and court costs.
